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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG MDL NO. 2179
“DEEPWATER HORIZON?” in the Gulf
OF MEXICO, ON APRIL 20, 2010 SECTION: “J”

JUDGE CARL J. BARBIER

THIS DOCUMENT RELATES TO:
Civil Action No. 2:10-cv-1921-CJB-SS
KELLI MANUEL TAQUINO,
JESSICA MANCHESTER and
ASHLEY MANUEL
v. TRANSOCEAN HOLDINGS, L.L.C.
et al

MAG. JUDGE SALLY SHUSHAN

Nowe? Nome Nee Nee Nr” Nee Nee ee Nee ee Nee” Nee” ee”

ORDER

Considering the above and foregoing Final Motion of Dismissal;

IT IS HEREBY ORDERED, ADJUDGED AND DECREED that all matters in this
controversy filed by KELLI MANUEL TAQUINO (INDIVIDUALLY AND AS
ADMINISTRATOR AND PERSONAL REPRESENTATIVE OF THE ESTATE OF KEITH
BLAIR MANUEL), JESSICA MANCHESTER AND ASHLEY MANUEL, INDIVIDUALLY
AND AS THE HEIRS OF THE PRESUMED DECEASED, KEITH BLAIR MANUEL,
against any party including but not limited to TRANSOCEAN HOLDINGS, LLC;
TRANSOCEAN OFFSHORE DEEPWATER DRILLING, INC.; TRANSOCEAN
DEEPWATER, INC.; BP, PLC, BP PRODUCTS NORTH AMERICA, INC.; ANTHONY
HAYWARD; HALLIBURTON ENERGY SERVICES, INC.; CAMERON

INTERNATIONAL CORPORATION; ANADARKO PETROLEUM CORPORATION;

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MITSUI & CO. (U.S.A), INC. AND M-I, L.L.C. be and the same are hereby dismissed and
discontinued, with full prejudice, each party to bear their own costs.

SIGNED IN NEW ORLEANS, LOUISIANA, this day of , 2011.

HONORABLE CARL J. BARBIER
UNITED STATES DISTRICT COURT JUDGE

